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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

In re:                                                                              CASE NO. 18-11466-LMI
                                                                                    CHAPTER 13
Ana M. Gomez


Debtor.                                       /

                                       MOTION TO MODIFY PLAN

         COMES NOW, the Debtor, Ana M. Gomez, and by and through the undersigned

attorney files this Motion to Modify Plan and states as follows:

1) Debtor filed a petition for Chapter 13 Bankruptcy on February 8, 2018.

2) Debtor’s Chapter 13 Plan was confirmed on September 18, 2018.

3) Debtor was dismissed on January 22, 2020 for failure to remain current with Plan payments

    and has filed a separate Motion to Reinstate Case.

4) Debtor is seeking to modify the Plan to conform to Notice of Payment Change #2-1 filed by

    Caliber Home Loans, Inc.

         WHEREFORE, the Debtor, Ana M. Gomez, respectfully requests this Motion to Modify

Plan be GRANTED.

I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of Florida

and I am in compliance with the additional qualifications to practice in the Court set forth in Local Rule 2090-1 (A).




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                                      Respectfully submitted,

                                      Law Offices of Patrick L. Cordero, P.A.
                                      Attorney for Debtor
                                      7333 Coral Way
                                      Miami, Florida 33155
                                      Tel: (305) 445-4855

                                      /s/ (FILED ECF)
                                      Miriam Marenco, Esq.
                                      FL Bar No. 86115




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